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                 EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE CO., et al.,

                Plaintiffs,

        v.                                     Case No. 13-cv-1053-RCL

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                Defendants.


 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

 __________________                            Case No. 13-mc-1288-RCL

 This document relates to:
 ALL CASES



                        JOINT STATEMENT OF UNDISPUTED FACTS

       The parties to the above-captioned actions hereby agree and stipulate to the following

statement of undisputed facts, which may be accepted as true by the Court and the fact-finder, and as

to which no further proof is necessary:

       1.        Congress created Fannie Mae in 1938 and Freddie Mac (together, the “Enterprises”)

in 1970 to support the Nation’s home mortgage system by increasing the funds available to lend to

borrowers and thus increasing home ownership.

       2.        The Enterprises purchase mortgages, some of which the Enterprises pool into

mortgage-backed securities. The Enterprises guarantee the payment of principal and interest to



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investors who buy those mortgage-backed securities. By purchasing the mortgages from private banks,

the Enterprises enable them to make additional loans to individuals to purchase homes.

       3.        By 2007, Fannie Mae’s and Freddie Mac’s mortgage portfolios had a combined

value of approximately $5 trillion and they owned almost half of the Nation’s existing mortgages.

       4.        The Enterprises have issued common stock and numerous series of non-cumulative

preferred stock (the “Preferred Stock”), all of which are publicly traded.

       5.        Of the Fannie Mae Preferred Stock currently outstanding, the earliest series was

issued in September 1998 (Fannie Mae, Series D (FDDXD)), and the latest series was issued in May

2008 (Fannie Mae, Series T (FNMAT)). The funds raised by Fannie Mae by issuing Preferred Shares

from September 1998 to May 2008 are as follows:

                                                                      Proceeds
                 Issuance Series        Date of Issuance         (in millions of USD)
                     FDDXD             September 30, 1998                $150
                     FNMFM                April 15, 1999                 $150
                     FNMAP               March 20, 2000                  $690
                     FNMAO                August 8, 2000                 $288
                     FNMAM                 April 6, 2001                 $400

                     FNMAG              October 28, 2002                 $300

                     FNMAN                April 29, 2003                 $345
                     FNMAL                June 10, 2003                  $460
                     FNMAK             September 25, 2003                $225
                     FNMFN             December 30, 2004                $2,500
                     FNMFO             December 30, 2004                $2,492
                     FNMAH             September 28, 2007               $1,000
                      FNMAI              October 4, 2007                 $375
                      FNMAJ            November 21, 2007                 $530

                                                   2




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                    FNMAS            December 11, 2007              $7,000
                    FNMAT               May 19, 2008                $2,225

                    TOTAL                                           $19,130


       6.       Of the Freddie Mac Preferred Stock currently outstanding, the earliest series was

issued in April 1996 (Freddie Mac, Series I (FMCCI)), and the latest series was issued in December

2007 (Freddie Mac, Series KJ (FMCKJ)). The funds raised by Freddie Mac by issuing Junior

Preferred Shares from April 1996 to December 2007 are as follows:

                                                                  Proceeds
                Issuance Series      Date of Issuance
                                                             (in millions of USD)
                    FMCCI              April 23, 1996                $250
                    FREGP            October 27, 1997                $150
                   FMCKK              March 23, 1998                 $400

                   FMCCG            September 23, 1998               $220

                   FMCCH            September 23, 1998               $400
                    FREJP            October 28, 1998                $200
                    FREJO             March 19, 1999                 $150
                   FMCCK               July 21, 1999                 $250
                   FMCCL             November 5, 1999                $287
                   FMCCM             January 26, 2001                $325
                   FMCCN              March 23, 2001                 $230
                   FMCCO              March 23, 2001                 $173
                   FMCCP               May 30, 2001                  $173
                    FMCCJ              May 30, 2001                  $201
                   FMCKP             October 30, 2001                $300
                    FREJN            January 29, 2002                $300
                   FMCCS               July 17, 2006                 $750

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                     FMCCT                July 17, 2006                   $250
                     FMCKO              October 16, 2006                  $500
                    FMCKM               January 16, 2007                 $1,100
                     FMCKN               April 16, 2007                   $500
                     FMCKL                July 24, 2007                   $500
                     FMCKI            September 28, 2007                  $500
                     FMCKJ             December 4, 2007                  $6,000

                     TOTAL                                              $14,109


       7.        Each of the series of shares, which Plaintiffs hold and are at issue in this case – all

of the Junior Preferred Shares issued by both of the Enterprises and the common shares issued by

Freddie Mac – are governed by documents called “Certificates of Designation.” Each of these

Certificates of Designation entitle the stockholders to the payment of dividends if declared by the

Boards of the respective Enterprises. The Certificates of Designation do not require the Board of either

Enterprise to declare dividends. The Preferred Stock dividends, if declared by the Enterprises’ board

of directors, are calculated based on a percentage of the stock’s face value. If the Board of either

Enterprise declares a dividend, the Certificates of Designation establish an order in which the

dividends on the various series must be paid. All dividends must be paid to all preferred stockholders

before any dividends are paid on any common shares. The Certificates of Designation also provide an

order in which the holders of the various series of shares may share in any distribution of assets upon

liquidation of the Enterprise.

       8.        A financial crisis began in the summer of 2007. The crisis led Congress and financial

regulators to enact multiple, systemic reforms. One of those reforms was the enactment of a federal

law called the Housing and Recovery Act of 2008 (“HERA”) in July 2008.



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       9.        HERA established the Federal Housing Finance Agency (“FHFA”) and made it

responsible for, among other things, “the effective supervision, regulation, and housing mission

oversight” of the Enterprises. HERA empowered the Director of FHFA to place the Enterprises into

conservatorship or receivership under certain circumstances.

       10.       HERA also amended the charters of the Enterprises by granting Treasury temporary

authority to fund the Enterprises by purchasing Enterprise stock.

       11.       On September 6, 2008, FHFA’s Director appointed FHFA as conservator of both

Fannie Mae and Freddie Mac. The Boards of Directors of Fannie Mae and Freddie Mac each

consented, by resolution, to the appointment of FHFA as conservator pursuant to HERA.

       12.       In announcing the conservatorship on September 7, 2008, FHFA Director Lockhart

stated that “in order to restore the balance between safety and soundness and mission, FHFA has

placed Fannie Mae and Freddie Mac into conservatorship. That is a statutory process designed to

stabilize a troubled institution with the objective of returning the entities to normal business

operations. FHFA will act as the conservator to operate the Enterprises until they are stabilized.”

       13.       When the conservatorships were announced, FHFA’s director also told the public

that “in order to conserve over $2 billion in capital every year, the common stock and preferred stock

dividends will be eliminated, but the common and all preferred stocks will continue to remain

outstanding.”

       14.       On September 7, 2008, FHFA, acting as conservator of Fannie Mae and Freddie

Mac, entered each Enterprise into a Senior Preferred Stock Purchase Agreement with the U.S.

Department of the Treasury (“Treasury”) (collectively, the “PSPAs”) pursuant to which Treasury

purchased preferred cumulative stock issued by each Enterprise. Other than the senior preferred stock

issued to Treasury pursuant to the PSPAs, no Preferred Stock has been issued by the Enterprises since

the conservatorships began in September 2008.
                                                  5




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         15.       Except for dividends paid to Treasury on its Senior Preferred Stock, the Enterprises

have not declared and paid dividends on common stock or Preferred Stock during the conservatorships.

         16.       Under the PSPAs, Treasury committed to invest up to $100 billion in each Enterprise

as needed to ensure that every quarter each Enterprise maintained a positive net worth (the “Treasury

Commitment” or “Commitment”). An Enterprise has a positive net worth if its assets exceed its

liabilities as determined by Generally Accepted Accounting Principles (“GAAP”).

         17.       For quarters in which an Enterprise’s liabilities exceed its assets under GAAP, the

PSPAs allow the Enterprise to draw upon Treasury’s Commitment in an amount equal to the

difference between liabilities and assets.

         18.       In return for the Treasury Commitment, Treasury received one million shares in a

newly created class of non-voting cumulative stock in each Enterprise, known as Senior Preferred

Stock.

         19.       The specific terms of the Senior Preferred Stock were contained in a document called

the Certificate of Designation of Terms of Variable Liquidation Preference Senior Preferred Stock,

Series 2008-2, referred to herein as the “Treasury Stock Certificate.”

         20.       The PSPAs, and their associated Treasury Stock Certificates, entitled Treasury to the

following with respect to each Enterprise: (i) a $1 billion senior liquidation preference—a priority

right above all other stockholders, whether preferred or otherwise, to receive distributions from assets

if the Enterprise was liquidated; (ii) a dollar-for-dollar increase in that liquidation preference each

time an Enterprise drew on the Treasury Commitment; (iii) an annual cash dividend (paid quarterly) of 10% of

Treasury’s liquidation preference, or if not paid in cash, an increase of the liquidation preference at a rate of

12% of Treasury’s liquidation preference; and (iv) warrants allowing Treasury to purchase up to 79.9% of

each Enterprise’s common stock at a price of $0.00001 per share through September 7, 2028.



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       21.       The total cost of exercising Treasury’s common stock warrants in both Fannie Mae

and Freddie Mac is less than $72,000.

       22.       The PSPAs also provided for a quarterly Periodic Commitment Fee paid by each

Enterprise to Treasury, and stated as follows:

       The Periodic Commitment Fee is intended to fully compensate Purchaser [Treasury]
       for the support provided by the ongoing Commitment following December 31, 2009.
       The amount of the Periodic Commitment Fee shall be set not later than December 31,
       2009 with respect to the ensuing five-year period, shall be reset every five years
       thereafter and shall be determined with reference to the market value of the
       Commitment as then in effect. The amount of the Periodic Commitment Fee shall be
       mutually agreed by Purchaser and Seller [Treasury and each respective Enterprise,
       acting by and through FHFA], subject to their reasonable discretion and in consultation
       with the Chairman of the Federal Reserve; provided, that Purchaser [Treasury] may
       waive the Periodic Commitment Fee for up to one year at a time, in its sole discretion,
       based on adverse conditions in the United States mortgage market.

       23.       Treasury waived the Periodic Commitment Fee for 2010, 2011, and 2012. The

Enterprises have never paid any Periodic Commitment Fee to Treasury.

       24.       The PSPAs barred the Enterprises from making any other distributions to Enterprise

stockholders—including issuing dividends to shareholders—without Treasury’s consent.

       25.       On May 6, 2009, Treasury and FHFA, acting as conservator of the Enterprises,

amended the PSPAs (the “First Amendment”). The First Amendment doubled the Treasury

       Commitment to each Enterprise, from $100 billion each ($200 billion total) to $200 billion

each ($400 billion total).

       26.       On December 24, 2009, Treasury and FHFA, acting as conservator of the

Enterprises, again amended the PSPAs (the “Second Amendment”). The Second Amendment replaced

the $200,000,000,000 Treasury Commitment to each Enterprise with a new commitment to provide

as much funding as each Enterprise needed to prevent insolvency through December 31, 2012, after

which time a cap on the Commitment would be reinstated and fixed pursuant to a formula. The Second


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Amendment also extended the date for Treasury to set the Periodic Commitment Fee from December

31, 2009 to December 31, 2010.

       27.       In the first quarter of 2012, Fannie Mae recorded comprehensive income (i.e.,

earnings) of $3.1 billion, compared to a comprehensive loss of $6.3 billion in the first quarter of 2011;

and Freddie Mac recorded comprehensive income of $1.8 billion, compared to a comprehensive

income of $2.7 billion in the first quarter of 2011.

       28.       In the second quarter of 2012, Fannie Mae recorded comprehensive income of $5.4

billion, compared to a comprehensive loss and net loss of $2.9 billion for the second quarter of 2011;

and Freddie Mac recorded comprehensive income of $2.9 billion, compared to a comprehensive loss

of $1.1 billion for the second quarter of 2011.

       29.       From the outset of the conservatorships in 2008 through the first quarter of 2012,

there were some quarters in which the Enterprises lacked the cash necessary to pay the 10% dividend

to Treasury. On such occasions, the Enterprises drew from the Treasury Commitment in order to pay

Treasury its quarterly dividend.

       30.       When the Enterprises drew against the Treasury’s Commitment to pay Treasury

dividends, such draws increased the size of the liquidation preference, thereby increasing the size of

the Enterprises’ dividend obligation.

       31.       By August 2012, Fannie Mae’s and Freddie Mac’s annual dividend obligations on

Treasury’s senior preferred stock were $11.7 billion and $7.2 billion, respectively.

       32.       As of August 17, 2012, Fannie Mae and Freddie Mac had drawn $116.1 billion and

$71.3 billion, respectively, from the Treasury Commitment, increasing Treasury’s total liquidation

preferences to $189.4 billion ($117.1 billion for Fannie Mae and $72.3 billion for Freddie Mac).




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       33.     Since September 2008, Fannie Mae has drawn on the Treasury Commitment in the

following quarterly amounts and cumulative amounts. Fannie Mae has not drawn on the Treasury

Commitment since 2018.

                                                                 Cumulative Draws
                                         Quarterly Draw
                 Year (Quarter)1                                   (in millions of
                                      (in millions of USD)2
                                                                       USD)3
                     2008 (Q4)                   -                        -
                     2009 (Q1)                $15,200                  $15,200
                     2009 (Q2)                $19,000                  $34,200
                     2009 (Q3)                $10,700                  $44,900
                     2009 (Q4)                $15,000                  $59,900
                     2010 (Q1)                $15,300                  $75,200

                     2010 (Q2)                $8,400                   $83,600

                     2010 (Q3)                $1,500                   $85,100
                     2010 (Q4)                $2,500                   $87,600
                     2011 (Q1)                $2,600                   $90,200
                     2011 (Q2)                $8,500                   $98,700
                     2011 (Q3)                $5,100                  $103,800
                     2011 (Q4)                $7,800                  $111,600
                     2012 (Q1)                $4,600                  $116,100
                     2012 (Q2)                   -                    $116,100
                     2012 (Q3)                   -                    $116,100
                     2012 (Q4)                   -                    $116,100


1
       The quarterly draws identified in this table were taken in the identified quarter to eliminate a
net worth deficit that existed as of the end of the prior quarter. So, for example, the $4.6 billion
draw taken in 2012 (Q1) was to eliminate a net worth deficit that existed as of the end of 2011 (Q4).
2
       Figures rounded to the nearest $100 million.
3      Figures rounded to the nearest $100 million.
                                                 9




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          2013 (Q1)            -              $116,100
          2013 (Q2)            -              $116,100
          2013 (Q3)            -              $116,100
          2013 (Q4)            -              $116,100
          2014 (Q1)            -              $116,100
          2014 (Q2)            -              $116,100
          2014 (Q3)            -              $116,100
          2014 (Q4)            -              $116,100
          2015 (Q1)            -              $116,100
          2015 (Q2)            -              $116,100
          2015 (Q3)            -              $116,100
          2015 (Q4)            -              $116,100
          2016 (Q1)            -              $116,100
          2016 (Q2)            -              $116,100
          2016 (Q3)            -              $116,100
          2016 (Q4)            -              $116,100
          2017 (Q1)            -              $116,100
          2017 (Q2)            -              $116,100
          2017 (Q3)            -              $116,100
          2017 (Q4)            -              $116,100
          2018 (Q1)         $3,700            $119,800
          2018 (Q2)            -              $119,800
          2018 (Q3)            -              $119,800
          2018 (Q4)            -              $119,800




                               10




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       34.     Since September 2008, Freddie Mac has drawn on the Treasury Commitment in the

following quarterly amounts and cumulative amounts. Freddie Mac has not drawn on the Treasury

Commitment since 2018.

                                                                 Cumulative Draws
                                         Quarterly Draw
                 Year (Quarter)4                                   (in millions of
                                      (in millions of USD)5
                                                                       USD)6
                     2008 (Q4)                $13,800                  $13,800
                     2009 (Q1)                $30,800                  $44,600
                     2009 (Q2)                $6,100                   $50,700
                     2009 (Q3)                   -                     $50,700
                     2009 (Q4)                   -                     $50,700
                     2010 (Q1)                   -                     $50,700

                     2010 (Q2)                $10,600                  $61,300

                     2010 (Q3)                $1,800                   $63,100
                     2010 (Q4)                 $100                    $63,200
                     2011 (Q1)                 $500                    $63,700
                     2011 (Q2)                   -                     $63,700
                     2011 (Q3)                $1,500                   $65,200
                     2011 (Q4)                $6,000                   $71,200
                     2012 (Q1)                 $100                    $71,300
                     2012 (Q2)                  $19                    $71,300
                     2012 (Q3)                   -                     $71,300
                     2012 (Q4)                   -                     $71,300

4
       The quarterly draws identified in this table were taken in the identified quarter to eliminate a
net worth deficit that existed as of the end of the prior quarter. So, for example, the $19 million
draw taken in 2012 (Q2) was to eliminate a net worth deficit that existed as of the end of 2012 (Q1).
5
       Figures rounded to the nearest $100 million except for the $19 million draw in 2012 (Q2).
6
       Figures rounded to the nearest $100 million.

                                                  11




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                   2013 (Q1)                -                  $71,300
                   2013 (Q2)                -                  $71,300
                   2013 (Q3)                -                  $71,300
                   2013 (Q4)                -                  $71,300
                   2014 (Q1)                -                  $71,300
                   2014 (Q2)                -                  $71,300
                   2014 (Q3)                -                  $71,300
                   2014 (Q4)                -                  $71,300
                   2015 (Q1)                -                  $71,300
                   2015 (Q2)                -                  $71,300
                   2015 (Q3)                -                  $71,300
                   2015 (Q4)                -                  $71,300
                   2016 (Q1)                -                  $71,300
                   2016 (Q2)                -                  $71,300
                   2016 (Q3)                -                  $71,300
                   2016 (Q4)                -                  $71,300
                   2017 (Q1)                -                  $71,300
                   2017 (Q2)                -                  $71,300
                   2017 (Q3)                -                  $71,300
                   2017 (Q4)                -                  $71,300
                   2018 (Q1)              $300                 $71,600
                   2018 (Q2)                -                  $71,600
                   2018 (Q3)                -                  $71,600
                   2018 (Q4)                -                  $71,600


      35.    On August 17, 2012, Treasury and FHFA, acting as conservator of the Enterprises,

amended the PSPAs a third time (the “Third Amendment”).

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       36.     The Third Amendment replaced the fixed 10% dividend with a quarterly variable

dividend equal to the positive net worth, if any, of Fannie Mae and Freddie Mac, exceeding a pre-

determined capital reserve. The capital reserve was originally set at $3 billion but would decline by

$600 million each year until reaching zero in 2018. The variable dividend is known as the “Net Worth

Sweep.”

       37.     The Net Worth Sweep became effective on January 1, 2013. The dividend paid by the

Enterprises for the fourth quarter of 2012 was based on the 10% dividend that applied before the Net

Worth Sweep, and the dividend paid for the first quarter of 2013 was based upon the Net Worth Sweep

formula.

       38.     In addition, the Third Amendment suspended the Enterprises’ obligations to pay

periodic commitment fees for so long as the Net Worth Sweep remained in effect.

       39.     On August 16, 2012, the value of Fannie Mae’s publicly traded Preferred Shares was

$1.459 billion. On August 17, 2012, the value of Fannie Mae’s publicly traded Preferred Shares

was $680 million, representing a decline in value of $779 million.

       40.     On August 16, 2012, the value of Freddie Mac’s common shares was $195 million, and

the value of Freddie Mac’s publicly traded Preferred Shares was $1.274 billion, for a combined total

value of $1.469 billion. On August 17, 2012, the value of Freddie Mac’s common shares was $150

million, and the value of Freddie Mac’s publicly traded Preferred Shares was $488 million,

representing a decline in value of $46 million and $786 million, respectively, and a combined decline

in value of $831 million.

       41.     Pursuant to the terms of the PSPAs, as of January 1, 2013, the maximum amount of

remaining funding to Fannie Mae and Freddie Mae under the Treasury Commitment was $117.6 billion

and $140.5 billion, respectively.


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       42.     On December 21, 2017, Treasury and FHFA, acting as Conservator to the

Enterprises, entered into letter agreements that changed the terms of the Senior Preferred Stock

Certificates in each Enterprise, issued under the PSPAs (the “2017 Letter Agreements”), to permit

each Enterprise to retain a $3 billion capital reserve. The 2017 Letter Agreements also increased

Treasury’s liquidation preference with respect to each Enterprise by $3 billion ($6 billion total). Under

the 2017 Letter Agreements, each Enterprise paid a dividend to Treasury equal to the amount its net

worth at the end of each quarter exceeded $3 billion. Those terms applied to the December 31, 2017

dividend payment and the dividend payments for each quarter thereafter, until the execution of the

September 30, 2019 letter agreements.

       43.     On September 30, 2019, Treasury and FHFA, acting as Conservator to the

Enterprises, entered into letter agreements that changed the terms of the Senior Preferred Stock

Certificates in each Enterprise, issued under the PSPAs (the “2019 Letter Agreements”), to permit

each Enterprise to retain earnings beyond the $3 billion capital reserves previously allowed through the

2017 Letter Agreements. The 2019 Letter Agreements also provided that the liquidation preferences

for Treasury’s Senior Preferred Stock would increase by the amount of capital the Enterprises retained

each quarter. Fannie Mae and Freddie Mac were permitted to maintain capital reserves of $25 billion

and $20 billion, respectively.

       44.     On January 14, 2021, Treasury and FHFA, acting as Conservator to the Enterprises,

entered into letter agreements that changed the terms of the Senior Preferred Stock Certificates in each

Enterprise, issued under the PSPAs (the “2021 Letter Agreements”). Among other things, the 2021

Letter Agreements suspended the cash dividend owed in order to permit each Enterprise to retain

earnings until it satisfied the requirements of the 2020 Enterprise capital rule, and provided that the

liquidation preference for each Enterprise would increase each quarter by the amount in earnings each

Enterprise was permitted to retain in lieu of the cash dividend.
                                                   14




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       45.    Since their entry into conservatorship, Fannie Mae and Freddie Mac paid quarterly

dividends to Treasury in the following amounts:

                                     Fannie Mae Dividends      Freddie Mac Dividends
             Year (Quarter)
                                      (in millions of USD)      (in millions of USD)
                2008 (Q4)                         $31                   $172
                2009 (Q1)                         $25                   $370
                2009 (Q2)                     $409                     $1,149
                2009 (Q3)                     $886                     $1,294
                2009 (Q4)                    $1,150                    $1,292
                2010 (Q1)                    $1,527                    $1,292

                2010 (Q2)                    $1,909                    $1,293

                2010 (Q3)                    $2,118                    $1,561
                2010 (Q4)                    $2,152                    $1,603
                2011 (Q1)                    $2,216                    $1,605
                2011 (Q2)                    $2,281                    $1,617
                2011 (Q3)                    $2,495                    $1,618
                2011 (Q4)                    $2,621                    $1,655
                2012 (Q1)                    $2,819                    $1,807
                2012 (Q2)                    $2,931                    $1,809
                2012 (Q3)                    $2,929                    $1,809
                2012 (Q4)                    $2,929                    $1,808
                2013 (Q1)                    $4,224                    $5,827
                2013 (Q2)                    $59,368                   $6,971
                2013 (Q3)                    $10,243                   $4,357
                2013 (Q4)                    $8,617                    $30,436
                2014 (Q1)                    $7,191                    $10,435
                2014 (Q2)                    $5,691                    $4,499


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       2014 (Q3)              $3,712                $1,890
       2014 (Q4)              $4,000                $2,786
       2015 (Q1)              $1,920                $851
       2015 (Q2)              $1,796                $746
       2015 (Q3)              $4,359                $3,913
       2015 (Q4)              $2,203                  -
       2016 (Q1)              $2,859                $1,740
       2016 (Q2)               $919                   -
       2016 (Q3)              $2,869                $933
       2016 (Q4)              $2,977                $2,310
       2017 (Q1)              $5,471                $4,475
       2017 (Q2)              $2,779                $2,234
       2017 (Q3)              $3,117                $1,986
       2017 (Q4)               $648                 $2,250
       2018 (Q1)                 -                    -
       2018 (Q2)               $938                   -
       2018 (Q3)              $4,459                $1,585
       2018 (Q4)              $3,975                $2,560
       2019 (Q1)              $3,240                $1,477
       2019 (Q2)              $2,361                $1,665
       2019 (Q3)                -                     -
       2019 (Q4)                -                     -
       2020 (Q1)                -                     -
       2020 (Q2)                -                     -
       2020 (Q3)                -                     -
       2020 (Q4)                -                     -
       2021 (Q1)                -                     -

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                  2021 (Q2)                      -                             -
                  2021 (Q3)                      -                             -
                  2021 (Q4)                      -                             -
                  2022 (Q1)                      -                             -
                  2022 (Q2)                      -                             -
                  2022 (Q3)                      -                             -
                  2022 (Q4)                      -                             -
              Total Before
                                              $31,428                       $23,754
             January 1, 2013
               Total After
                                              $149,936                      $95,926
             January 1, 2013
                   TOTAL                     $181,364                      $119,680


       46.       As of the end of the fourth quarter of 2022, the total amount by which Treasury’s

liquidation preference has been increased as a result of the 2017, 2019 and 2021 letter agreements is

$94.8 billion.




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Dated: July 26, 2023                           Respectfully submitted,

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